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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA

DEBORAH LAUFER,
Plaintiff,

 v.                                         Civil Action No. 1:19-cv-05691-ELR

HARMONY GROUP CANTON LLC,
Defendant

                          NOTICE OF SETTLEMENT

      Plaintiff, Deborah Laufer, by and through her undersigned counsel, hereby

advises the Court that the parties have reached an agreement in principle to resolve

this dispute. The parties are finalizing settlement and dismissal documents and

expect to file the dismissal papers no later than August 3, 2020.

/s/ Tristan W. Gillespie
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